                          Case 4:22-mb-04785-MSA Document 2 Filed 09/02/22 Page 1 of 1
SEARCH WARRANT RETURN (REV. 03/13)
                                                                                                           FILED            LODGED

                                                             RETURN                                        Sep 02 2022
 Case No.:
                                                                                                           CLERK U.S. DISTRICT COURT
                                                                                                              DISTRICT OF ARIZONA




 DATE WARRANT                         DATE AND TIME                        COPY OF WARRANT AND RECEIPT FOR
 RECEIVED                             WARRANT EXECUTED                     ITEMS LEFT WITH




 INVENTORY MADE IN THE PRESENCE OF



 INVENTORY OF PERSON OR PROPERTY TAKEN PURSUANT TO THE WARRANT




                                                       NOT EXECUTED
             This Warrant was Not Executed.
             (check this box if the warrant was never executed and leave the sections above blank.)


                                                       CERTIFICATION

   I declare under penalty of perjury that this inventory is correct and was returned to the designated judge.


    Date:
                                                                           Executing Officers Signature



                                                                           Printed Name and Title
